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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

      UNITED STATES OF AMERICA,                       )
                                                      )
             Plaintiff,                               )            No. 6:18-CV-279-REW
                                                      )
      v.                                              )
                                                      )                    ORDER
      ESTATE OF BETTY LOUISE PARKS,                   )
      DECEASED, et al.,                               )
                                                      )
             Defendants.
                                      *** *** *** ***

           On October 29, 2018, the United States initiated this foreclosure action against the

  following Defendants: the Estate of Betty Louise Parks, Deceased; Vicky May; Debbie

  Parks; Roger Parks; and the Unknown Heirs of Betty Louise Parks; as well as the Unknown

  Spouses of Betty Louise Parks, Vicky May, Debbie Parks, Roger Parks, and the Unknown

  Heirs of Betty Louise Parks. DE #1 (Complaint). The at-issue property is located at 589

  Florence Street, Corbin, Kentucky 40701. The Court, pursuant to Federal Rule 4(e)(1), CR

  4.05, and CR 4.07, previously issued a warning order and appointed warning order

  attorneys for all Defendants. DE #14 (Order).

           The Court appointed Hon. Timothy R. Wiseman as warning order counsel for the

  Unknown Spouse of Roger Parks. Mr. Wiseman now reports his diligent, but ultimately

  unsuccessful, efforts to locate the spouse of Roger Parks1 and notify that individual of this

  action. DE #22; DE #22-1 (Certified Mailings); DE #22-2 (Affidavit). Counsel asks the



  1
   Mr. Wiseman contacted several Kentucky men named Roger Parks, and spoke with one
  spouse of a Roger Parks, but none of those individuals was related to Betty Louise Parks.
  See DE #22 ¶¶ 6–9.
                                                1
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  Court to accept the report, authorize payment for his services, and relieve him from further

  responsibilities in this matter. See DE #22 at 3. Finding the requested relief justified, the

  Court GRANTS DE #22 and ORDERS as follows:

         1. The Court ACCEPTS the Warning Order Report (DE #22);

         2. The Court ORDERS and AUTHORIZES payment, to Hon. Timothy R.

             Wiseman, of a $200.00 fee for services rendered and $24.40 for reasonably

             incurred expenses (copies and postage), all to be taxed as costs, see DE #22-2

             (Affidavit); and

         3. The Court RELIEVES Mr. Wiseman of any further duties in this matter.

         This the 4th day of April, 2019.




                                               2
